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       SETTLEMENT AGREEMENT AND MUTUAL RELEASE BETWEEN
 GIBSON TRUSTEE AND ELC TRUSTEE, GRANT GIBSON, TAMMY GIBSON, JOHN
     GIBSON, GIBSON CATTLE COMPANY, L.L.C., AND G.P. CATTLE, L.L.C.

         This Settlement Agreement (“Agreement”) is entered into this ___ day of August, 2013
 (“Effective Date”), by and among Kathryn L. Pry, as Chapter 7 Trustee of the bankruptcy estate
 of Thomas P. and Patsy M. Gibson (the “Gibson Trustee”), Case No. 10-93867-BHL-7A, James
 A. Knauer, as Chapter 11 Trustee for the bankruptcy estate of Eastern Livestock Company,
 L.L.C. (the “ELC Trustee”), Case No. 10-93904 (the ELC Trustee and the Gibson Trustee are
 referred to collectively here as the “Trustees”), and Defendants, Grant Gibson, Tammy Gibson,
 John Gibson, Gibson Cattle Company, L.L.C., and G.P. Cattle, L.L.C. (collectively, the
 “Releasees”) (collectively herein the Trustees and the Releasees are referred to as the “Parties”
 and individually referred to as “Party”). The Parties agree as follows:

                                          I. RECITALS

       1.      Thomas P. Gibson and Patsy M. Gibson, (the “Gibson Debtors”) filed a
 Voluntary Petition for Relief under Chapter 7 of Title 11 of the United States Code (the
 “Bankruptcy Code”) on December 1, 2010.

         2.     Eastern Livestock Company, L.L.C. (“ELC”) was one of the largest cattle dealers
 in the United States. Certain petitioning creditors commenced a Chapter 11 Case against ELC on
 December 6, 2010, by filing an involuntary petition for relief under the Bankruptcy Code. The
 United States Bankruptcy Court for the Southern District of Indiana (“Court”) entered the Order
 for Relief in An Involuntary Case and Order to Complete Filing on December 28, 2010.

       3.       Grant Gibson and John Gibson are the sons of the Gibson Debtors. Tammy
 Gibson is the wife of Grant Gibson.

       4.     Gibson Cattle Company, L.L.C. (“Gibson Cattle Company”) is a limited liability
 company organized under Indiana law.

        5.      GP Cattle, L.L.C. is a limited liability company organized under Indiana law
 during 2010. Grant Gibson is a member of GP Cattle, LLC and did business as “GP Cattle” prior
 to forming the limited liability company. Hereinafter, “GP Cattle” refers to Grant Gibson d/b/a
 GP Cattle, d/b/a GP Cattle Company, and d/b/a GP Cattle, L.L.C.

        6.     On November 29, 2012, the Gibson Trustee filed a complaint for turnover against
 Grant Gibson, John Gibson, Gibson Cattle Company, and GP Cattle that commenced Adversary
 Proceeding No. 12-59101 (the “Grant Gibson Adversary Proceeding”).

        7.     On November 30, 2012, the Gibson Trustee filed a complaint for turnover against
 People’s Bank & Trust Company of Pickett County, Michael Steven McDonald, and Tammy T.
 Gibson that commenced Adversary Proceeding No. 12-59103 (the “Tammy Gibson Adversary
 Proceeding”).




                                                                                        Exhibit A
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       8.     The Gibson Trustee has agreed to compromise and settle her claims against Grant
 Gibson, Tammy Gibson, John Gibson, Gibson Cattle Company and GP Cattle (collectively, the
 “Pry Releasees”) on the terms and conditions set forth below.

        9.     On December 26, 2012, the ELC Trustee filed a complaint against Nancy G.
 McDonald and John F. Gibson, solely in their capacities as co-trustees of the Thomas P. Gibson
 Irrevocable Generation Skipping Trust (the “Gibson Trust”) that commenced Adversary
 Proceeding No. 12-59151 (the “Gibson Trust Adversary Proceeding”). The Gibson Trust
 Adversary Proceeding does not assert claims against John F. Gibson individually; accordingly,
 the Gibson Trust Adversary Proceeding is not affected or implicated by this Agreement.

       10.      On December 27, 2012, the ELC Trustee filed a complaint against John F.
 Gibson, individually, that commenced Adversary Proceeding No. 12-59152 (the “John Gibson
 Adversary Proceeding”).

        11.     On December 27, 2012, the ELC Trustee also filed a complaint against Tammy
 Gibson, Grant Gibson, Gibson Cattle Company, GP Cattle, and Atkinson Livestock Market,
 L.L.C., that commenced Adversary Proceeding No. 12-59158 (the “Gibson Cattle Company
 Adversary Proceeding”).

       12.   The ELC Trustee has agreed to compromise and settle his claims against Grant
 Gibson, Tammy Gibson, John Gibson, Gibson Cattle Company, and GP Cattle, (collectively, the
 “ELC Releasees”) on the terms and conditions set forth below.

         13.    Under the terms and conditions set forth below, the Trustees have agreed to settle
 their claims against Releasees and to dismiss them with prejudice from: (1) the Grant Gibson
 Adversary Proceeding, Adversary Proceeding No. 12-59101; (2) the Tammy Gibson
 Adversary Proceeding, Adversary Proceeding No. 12-59103, solely as to Defendant Tammy
 Gibson; (3) the John Gibson Adversary Proceeding, Adversary Proceeding No. 12-59152; and
 (4) the Gibson Cattle Company Adversary Proceeding, Adversary Proceeding No. 12-59158,
 solely as to Defendants, Tammy Gibson, Grant Gibson, John Gibson, Gibson Cattle Company,
 and GP Cattle, for the total payment of $350,000.00 (the “Settlement Amount”).

         14.     In reaching this settlement, the Trustees have relied on representations concerning
 the current financial condition of Grant Gibson, Tammy Gibson, and John Gibson as set forth in
 the sworn affidavits attached hereto as Exhibits 1, 2, and 3.

        15.     The effectiveness and enforcement of this Settlement Agreement is subject to
 approval by the Court pursuant to Federal Rule of Bankruptcy Procedure 9019(b).

        THEREFORE, for and in consideration of the mutual covenants, obligations,
 agreements and releases contained herein, and other good and valuable consideration, the receipt
 and sufficiency of which are hereby acknowledged by all Parties, the Parties agree that:

                                        II. AGREEMENT

         A. The recitals stated above are incorporated into this Agreement by reference as if fully
 set forth herein.

                                                                                         Exhibit A
                                                                                        (Redacted)
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      B. Grant Gibson, Tammy Gibson, Gibson Cattle Company, and GP Cattle shall:
            1.     Pay the Trustees $300,000.00 plus accrued interest at the monthly
                   rate of .27% (“Monthly Interest”) (collectively, the “Grant Gibson
                   Payment”);
            2.     Pay on the 28th day of each month the Monthly Interest on the
                   unpaid balance of the Grant Gibson Payment commencing five (5)
                   months after the execution of this Agreement;
            3.     Remit the Grant Gibson Payment, in full, to the ELC Trustee no
                   later than ten (10) months after the execution of this Agreement;
            4.     Payment is considered received when posted, and may be made by
                   first class mail, postage prepaid, to counsel for the ELC Trustee at:
                   Faegre Baker Daniels LLP, c/o Kevin Toner, 300 N. Meridian
                   Street, Suite 2700, Indianapolis, IN 46204;
            5.     In the event that the Grant Gibson Payment is delivered to counsel
                   for the ELC Trustee on or before ninety (90) days after the
                   execution of this Agreement, the Gibson Payment shall be reduced
                   by $7,500 and Grant Gibson, Tammy Gibson, Gibson Cattle
                   Company and GP Cattle shall have no further payment obligations
                   under Section B(1) and B(2) above;
            6.     As security for the Grant Gibson Payment, Grant Gibson,
                   individually, and as a one percent (1%) Class A Member of The
                   Gibson Farm 2, L.L.C. an Indiana limited liability company,
                   (hereinafter, “Gibson Farm 2”), and Tammy Gibson, individually,
                   and as a forty nine percent (49%) Class B member and one percent
                   (1%) Class A Member of Gibson Farm 2, with the consent of the
                   Grant P. Gibson Irrevocable Trust, also a percent (49%) Class B
                   member of Gibson Farm 2, shall cause the execution of a
                   mortgage lien by Gibson Farm 2 in favor of the ELC Trustee and
                   the Gibson Trustee on the approximately 46 acres of undeveloped
                   farm land commonly known as at 7764 State Road 62 East,
                   Lanesville, IN 47136 and titled to Gibson Farm 2 (the “Trustees'
                   Collateral”);
            7.     Pay any and all costs associated with any partial release of any of
                   the Trustees’ collateral including, but not limited to, fees, costs,
                   surveys, appraisals, or title insurance;
            8.     Execute an agreed judgment against Grant Gibson and Tammy
                   Gibson and in favor of the Trustees in the amount of $300,000.00
                   (“Agreed Judgment”) which document will be held by counsel
                   for the ELC Trustee and will not be filed with the Court or
                   recorded in any county unless and until Grant Gibson and Tammy
                   Gibson fail to pay in full the Grant Gibson Payment within ten (10)
                   months of execution of the Agreement as set forth in Section B(1)
                   and B(2) above;
            9.     Waive any and all claims and withdraw all claims filed in the
                   Gibson Estate;
                                                                                     Exhibit A
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               10.     Waive any and all claims and withdraw all claims filed in the ELC
                       Estate;
        C. The ELC Trustee and the Gibson Trustee shall:
               1.      Release their lien on the Trustees' Collateral on an acre by acre
                       basis for payment of $5,000.00 per acre toward satisfaction of the
                       Grant Gibson Payment obligations in Section B above, and in
                       accordance with Section B.7., above, Grant Gibson and Tammy
                       Gibson shall pay any and all costs associated with any partial
                       release of any of the Trustees’ collateral including, but not limited
                       to, fees, costs, surveys, appraisals, or title insurance; release all
                       remaining liens on the Trustees' Collateral within fourteen (14)
                       business days upon payment in full of the Grant Gibson Payment;
               2.      At the request of Grant Gibson, and for no consideration, release
                       the portion of the mortgage referenced in Section B above as to the
                       approximately four (4) fenced acres of real estate, houses and
                       barns owned by Gibson Farm 2;
               3.      Divide the Grant Gibson Payment with forty percent (40%) of the
                       Grant Gibson Payment including interest paid to the Gibson
                       Trustee and sixty percent (60%) including interest paid to the ELC
                       Trustee; and
               4.      The ELC Trustee shall remit forty percent (40%) of the Grant
                       Gibson Payment, including interest payments received, to counsel
                       for the Gibson Trustee no later than twenty-one (21) days after
                       counsel for the ELC Trustee has received each payment. Payment
                       is considered received when posted, and may be made by first class
                       mail, postage prepaid, to counsel for the Gibson Trustee at: Rubin
                       & Levin, P.C., c/o Elizabeth M. Lally, 500 Marott Center, 342
                       Massachusetts Ave., Indianapolis, IN 46204.
        D. John Gibson shall within sixty (60) days of the Court's order approving this
 settlement:
               1.      Pay to the ELC Trustee $50,000.00 (the “John Gibson
                       Payment”). Payment is considered received when posted, and may
                       be made by first class mail, postage prepaid, to counsel for the
                       ELC Trustee at: Faegre Baker Daniels LLP., c/o Kevin Toner, 300
                       N. Meridian Street, Suite 2700, Indianapolis, IN 46204;
               2.      Waive any and all claims and withdraw all claims filed against the
                       Gibson Estate; and
               3.      Waive any and all claims and withdraw all claims filed against the
                       ELC Estate.
        E. The ELC Trustee and the Gibson Trustee shall:
               1.      Divide the John Gibson Payment with forty percent (40%) of the
                       John Gibson Payment paid to the Gibson Trustee and sixty percent
                       (60%) of the John Gibson payment paid to the ELC Trustee.

                                                                                          Exhibit A
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                2.     The ELC Trustee shall remit forty percent (40%) of the John
                       Gibson Payment to counsel for the Gibson Trustee no later than
                       twenty-one (21) days after counsel for the ELC Trustee has
                       received the John Gibson Payment. Payment is considered
                       received when posted, and may be made by first class mail,
                       postage prepaid, to counsel for the Gibson Trustee at: Rubin &
                       Levin, P.C., c/o Elizabeth M. Lally, 500 Marott Center, 342
                       Massachusetts Ave., Indianapolis, IN 46204.
         F. The Parties agree to the following mutual releases on the terms as defined and set
 forth below:
                1.     Definitions. As used herein, the following terms shall have the
                       following meanings:
                       a) “Associated Party” means, with respect to any
                          specified Party, to the extent applicable, such Party’s
                          (1) predecessors, successors, executors, administrators,
                          trusts, spouse, heirs and estate, attorneys, professionals,
                          partners, agents, representatives, and insurers, (2) past,
                          present and future assigns, agents, and representatives,
                          (3) each entity that such Party now has the power to
                          bind (by such Party’s acts or signature) or over which
                          such Party directly or indirectly exercises control, and
                          (4) each entity of which such Party now owns, directly
                          or indirectly, a majority of the outstanding equity,
                          beneficial, proprietary, ownership or voting interests.
                       b) “Released Claims” mean and include any and all
                          agreements, causes of action, claims, commitments,
                          contracts, controversies, covenants, indebtedness, debts,
                          damages, demands, disputes, obligations, liabilities,
                          rights and suits of every kind and nature, whether in
                          law or equity, whether known or unknown, matured or
                          unmatured, accrued or unaccrued, liquidated or
                          unliquidated, asserted or unasserted, fixed or
                          contingent, and whether sounding in contract, statute,
                          tort, fraud, misrepresentation or other legal theory.
                       c) “Grant Gibson Releasee” means Grant Gibson and his
                          (1) successors and assigns, (2) predecessors, successors,
                          executors, administrators, trusts, spouse, heirs and
                          estate, and (3) past, present and future assigns, agents
                          and representatives.
                       d) “Tammy Gibson Releasee” means Tammy Gibson and
                          her (1) successors and assigns, (2) predecessors,
                          successors, executors, administrators, trusts, spouse,
                          heirs and estate, and (3) past, present and future assigns,
                          agents and representatives.
                       e) “John Gibson Releasee” means John Gibson and his
                          (1) successors and assigns, (2) predecessors, successors,
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                       executors, administrators, spouse, heirs and estate, and
                       (3) past, present and future assigns, agents and
                       representatives. However, notwithstanding the
                       foregoing, the term “John Gibson Releasee” shall not
                       include the Gibson Trust.
                  f)   “Released Claim” means:

                       (1) With respect to Paragraph II.F.2, and its
                       subsections, below, Claim(s) that the Gibson
                       Trustee and/or any of her Associated Parties has
                       had or claims to have had against Grant Gibson,
                       individually and/or any of his Associated
                       Parties, by reason of any matter, cause or thing
                       whatsoever, including but not limited to any
                       matter arising from, connected with, or in any
                       way relating to or resulting from the Grant
                       Gibson Adversary Proceeding;
                       (2) With respect to Paragraph II.F.3, and its
                       subsections, below, Claim(s) that Grant Gibson,
                       individually and/or any of his Associated
                       Parties, has had or claims to have had against
                       the Gibson Trustee and/or any of her Associated
                       Parties by reason of any matter, cause or thing
                       whatsoever, including but not limited to any
                       matter arising from, connected with, or in any
                       way relating to or resulting from the Grant
                       Gibson Adversary Proceeding;
                       (3) With respect to Paragraph II.F.4, and its
                       subsections, below, Claim(s) that the Gibson
                       Trustee and/or any of her Associated Parties has
                       had or claims to have had against Tammy
                       Gibson, individually, and/or any of her
                       Associated Parties by reason of any matter,
                       cause or thing whatsoever, including but not
                       limited to any matter arising from, connected
                       with, or in any way relating to or resulting from
                       the Tammy Gibson Adversary Proceeding;
                       (4) With respect to Paragraph II.F.5, and its
                       subsections, below, Claim(s) that Tammy
                       Gibson, individually, and/or any of her
                       Associated Parties has had or claims to have had
                       against the Gibson Trustee and/or any of her
                       Associated Parties by reason of any matter,
                       cause or thing whatsoever, including but not
                       limited to any matter arising from, connected
                       with, or in any way relating to or resulting from
                       the Tammy Gibson Adversary Proceeding;
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                       (5) With respect to Paragraph II.F.6, and its
                       subsections, below, Claim(s) that the Gibson
                       Trustee and/or any of her Associated Parties has
                       had or claims to have had against John Gibson,
                       individually and/or any of his Associated Parties
                       by reason of any matter, cause or thing
                       whatsoever, including but not limited to any
                       matter arising from, connected with, or in any
                       way relating to or resulting from the Grant
                       Gibson Adversary Proceeding;
                       (6) With respect to Paragraph II.F.7, and its
                       subsections, below, Claim(s) that John Gibson,
                       individually, and/or any of his Associated
                       Parties has had or claims to have had against the
                       Gibson Trustee and/or any of her Associated
                       Parties by reason of any matter, cause or thing
                       whatsoever, including but not limited to any
                       matter arising from, connected with, or in any
                       way relating to or resulting from the Grant
                       Gibson Adversary Proceeding and the John
                       Gibson Adversary Proceeding;
                       (7) With respect to Paragraph II.F.8, and its
                       subsections, below, Claim(s) that the ELC
                       Trustee and/or any of his Associated Parties has
                       had or claims to have had against John Gibson,
                       and/or any of his Associated Parties by reason
                       of any matter, cause or thing whatsoever,
                       including but not limited to any matter arising
                       from, connected with, or in any way relating to
                       or resulting from the John Gibson Adversary
                       Proceeding. Notwithstanding the foregoing, and
                       for avoidanceof doubt, Released Claim for
                       purposes of Paragraph II.F.8 does not include
                       any and all claims the ELC Trustee has against
                       the Gibson Trust;
                       (8) With respect to Paragraph II.F.9, and its
                       subsections, below, Claim(s) that John Gibson,
                       and/or any of his Associated Parties has had or
                       claims to have had against the ELC Trustee
                       and/or any of his Associated Parties by reason
                       of any matter, cause or thing whatsoever,
                       including but not limited to any matter arising
                       from, connected with, or in any way relating to
                       or resulting from the John Gibson Adversary
                       Proceeding;
                       (9) With respect to Paragraph II.F.10, and its
                       subsections, below, Claim(s) that the ELC
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                       Trustee and/or any of his Associated Parties has
                       had or claims to have had against Grant Gibson,
                       individually and/or any of his Associated Parties
                       by reason of any matter, cause or thing
                       whatsoever, including but not limited to any
                       matter arising from, connected with, or in any
                       way relating to or resulting from the Gibson
                       Cattle Company Adversary Proceeding;
                       (10) With respect to Paragraph II.F.11, and its
                       subsections, below, Claim(s) that Grant Gibson,
                       individually and/or any of his Associated Parties
                       has had or claims to have had against the ELC
                       Trustee and/or any of his Associated Parties by
                       reason of any matter, cause or thing whatsoever,
                       including but not limited to any matter arising
                       from, connected with, or in any way relating to
                       or resulting from the Gibson Cattle Company
                       Adversary Proceeding;
                       (11) With respect to Paragraph II.F.12, and its
                       subsections, below, Claim(s) that the ELC
                       Trustee and/or any of his Associated Parties has
                       had or claims to have had against Tammy
                       Gibson, individually, and/or any of her
                       Associated Parties by reason of any matter,
                       cause or thing whatsoever, including but not
                       limited to any matter arising from, connected
                       with, or in any way relating to or resulting from
                       the Gibson Cattle Company Adversary
                       Proceeding;
                       (12) With respect to Paragraph II.F.13, and its
                       subsections, below, Claim(s) that Tammy
                       Gibson, individually and/or any of her
                       Associated Parties, has had or claims to have
                       had against the ELC Trustee and/or any of his
                       Associated Parties by reason of any matter,
                       cause or thing whatsoever, including but not
                       limited to any matter arising from, connected
                       with, or in any way relating to or resulting from
                       the Gibson Trust Adversary Proceeding;
                       (13) None of the releases set forth in this
                       Agreement apply to, and shall not relieve any of
                       the Parties hereto from, his, her or its
                       obligations under this Agreement.

            2.    Release By the Gibson Trustee as to Grant Gibson,
                  individually and each of his Associated Parties, Gibson Cattle
                  Company, and G.P. Cattle Company: As of the Effective Date,
                                                                               Exhibit A
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                  the Gibson Trustee in her capacity as the Gibson Trustee of the
                  Gibson Estate, on behalf of herself and each of her Associated
                  Parties, and subject to approval of this Settlement Agreement by
                  the Bankruptcy Court through the entry of a final, non-appealable
                  order:

                            a) Releases and forever discharges each
                       Grant Gibson Releasee and his Associated
                       Parties of and from each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that the
                       Gibson Trustee does not know or suspect to
                       exist at the time of executing this Agreement;
                       and

                            c) Represents and warrants that (1) neither
                       the Gibson Trustee nor any of her Associated
                       Parties has assigned, transferred, or purported to
                       assign or transfer, to any person any Released
                       Claim, (2) to her best knowledge, no other
                       Person or entity has any interest in any of the
                       Released Claims, (3) this Agreement has been
                       duly and validly executed and delivered by the
                       Gibson Trustee, solely in her capacity as a
                       Chapter 7 Trustee, (4) this Agreement is a valid
                       and binding obligation of the Gibson Trustee,
                       and is enforceable against the Gibson Trustee in
                       accordance with its terms.

            3.    Release By Grant Gibson, individually and any of his
                  Associated Parties, Gibson Cattle Company, G.P. Cattle
                  Company as to the Gibson Trustee: As of the Effective Date,
                  Grant Gibson, individually and each of his Associated Parties,
                  Gibson Cattle Company, G.P. Cattle Company, on behalf of
                  himself and each of these entities, and subject to approval of this
                  Settlement Agreement by the Bankruptcy Court through the entry
                  of a final, non-appealable order:

                            a) Releases and forever discharges the
                       Gibson Trustee and her Associated Parties of
                       and from each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that Grant
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                       Gibson, Gibson Cattle Company, or G.P. Cattle
                       Company, does not know or suspect to exist at
                       the time of executing this Agreement; and

                            c) Represents and warrants that (1) neither
                       Grant Gibson, Gibson Cattle Company, G.P.
                       Cattle Company, nor any of his Associated
                       Parties has assigned, transferred, or purported to
                       assign or transfer, to any person any Released
                       Claim, (2) to his best knowledge, no other
                       person or entity has any interest in any of the
                       Released Claims, (3) this Agreement has been
                       duly and validly executed and delivered by
                       Grant Gibson, Gibson Cattle Company, G.P.
                       Cattle Company, (4) this Agreement is a valid
                       and binding obligation of Grant Gibson, Gibson
                       Cattle Company, and G.P. Cattle Company, and
                       is enforceable against Grant Gibson, Gibson
                       Cattle Company, and G.P. Cattle Company, in
                       accordance with its terms.

            4.    Release By the Gibson Trustee as to Tammy Gibson: As of the
                  Effective Date, the Gibson Trustee in her capacity as the Gibson
                  Trustee of the Gibson Estate, on behalf of herself and each of her
                  Associated Parties, and subject to approval of this Settlement
                  Agreement by the Bankruptcy Court through the entry of a final,
                  non-appealable order:

                            a) Releases and forever discharges each
                       Tammy Gibson Releasee and her Associated
                       Parties of and from each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that the
                       Gibson Trustee does not know or suspect to
                       exist at the time of executing this Agreement;
                       and

                            c) Represents and warrants that (1) neither
                       the Gibson Trustee nor any of her Associated
                       Parties has assigned, transferred, or purported to
                       assign or transfer, to any person any Released
                       Claim, (2) to her best knowledge, no other
                       person or entity has any interest in any of the
                       Released Claims, (3) this Agreement has been
                       duly and validly executed and delivered by the
                       Gibson Trustee, solely in her capacity as a
                                                                                  Exhibit A
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                       Chapter 7 Trustee, (4) this Agreement is a valid
                       and binding obligation of the Gibson Trustee,
                       and is enforceable against the Gibson Trustee in
                       accordance with its terms.

            5.    Release By Tammy Gibson as to the Gibson Trustee: As of the
                  Effective Date, Tammy Gibson, individually, and on behalf of
                  herself and each of her Associated Parties, and subject to approval
                  of this Settlement Agreement by the Bankruptcy Court through the
                  entry of a final, non-appealable order:

                            a) Releases and forever discharges the
                       Gibson Trustee and her Associated Parties of
                       and from each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that Tammy
                       Gibson does not know or suspect to exist at the
                       time of executing this Agreement; and

                            c) Represents and warrants that (1) neither
                       Tammy Gibson, individually, nor any of her
                       Associated Parties has assigned, transferred, or
                       purported to assign or transfer, to any person
                       any Released Claim, (2) to her best knowledge,
                       no other person or entity has any interest in any
                       of the Released Claims, (3) this Agreement has
                       been duly and validly executed and delivered by
                       Tammy Gibson, individually; and (4) this
                       Agreement is a valid and binding obligation of
                       the Tammy Gibson, individually, in accordance
                       with its terms.

            6.    Release By the Gibson Trustee as to John Gibson and Gibson
                  Cattle Company: As of the Effective Date, the Gibson Trustee in
                  her capacity as the Gibson Trustee of the Gibson Estate, on behalf
                  of herself and each of her Associated Parties, and subject to
                  approval of this Settlement Agreement by the Bankruptcy Court
                  through the entry of a final, non-appealable order:

                            a) Releases and forever discharges each
                       John Gibson Releasee and his Associated
                       Parties of and from each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                                                                                  Exhibit A
                                                                                 (Redacted)
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                       release does not extend to claims that the
                       Gibson Trustee does not know or suspect to
                       exist at the time of executing this Agreement;
                       and

                            c) Represents and warrants that (1) neither
                       the Gibson Trustee nor any of her Associated
                       Parties has assigned, transferred, or purported to
                       assign or transfer, to any person any Released
                       Claim, (2) to her best knowledge, no other
                       person or entity has any interest in any of the
                       Released Claims, (3) this Agreement has been
                       duly and validly executed and delivered by the
                       Gibson Trustee, solely in her capacity as a
                       Chapter 7 Trustee, (4) this Agreement is a valid
                       and binding obligation of the Gibson Trustee,
                       and is enforceable against the Gibson Trustee in
                       accordance with its terms.

            7.    Release By John Gibson as to the Gibson Trustee: As of the
                  Effective Date, John Gibson, on behalf of himself and each of his
                  Associated Parties, and subject to approval of this Settlement
                  Agreement by the Bankruptcy Court through the entry of a final,
                  non-appealable order:

                            a) Releases and forever discharges the
                       Gibson Trustee and her Associated Parties of
                       and from each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that John
                       Gibson, individually, and d/b/a Gibson Cattle
                       Company, does not know or suspect to exist at
                       the time of executing this Agreement; and

                            c) Represents and warrants that (1) neither
                       John Gibson nor any of his Associated Parties
                       has assigned, transferred, or purported to assign
                       or transfer, to any person any Released Claim,
                       (2) to his best knowledge, no other person or
                       entity has any interest in any of the Released
                       Claims, (3) this Agreement has been duly and
                       validly executed and delivered by John Gibson;
                       and (4) this Agreement is a valid and binding
                       obligation of John Gibson in accordance with its
                       terms.

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                                                                                (Redacted)
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            8.    Release By the ELC Trustee as to John Gibson: As of the
                  Effective Date, the ELC Trustee in his capacity as the Trustee of
                  the ELC Estate, on behalf of himself and each of his each
                  Associated Parties, and subject to approval of this Settlement
                  Agreement by the Bankruptcy Court through the entry of a final,
                  non-appealable order:

                            a) Releases and forever discharges each
                       John Gibson Releasee and his Associated
                       Parties of and from each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that the ELC
                       Trustee does not know or suspect to exist at the
                       time of executing this Agreement; and

                            c) Represents and warrants that (1) neither
                       the ELC Trustee nor any of his Associated
                       Parties has assigned, transferred, or purported to
                       assign or transfer, to any person any Released
                       Claim, (2) to his best knowledge, no other
                       person or entity has any interest in any of the
                       Released Claims, (3) this Agreement has been
                       duly and validly executed and delivered by the
                       ELC Trustee, solely in his capacity as a Chapter
                       11 Trustee, and (4) this Agreement is a valid
                       and binding obligation of the ELC Trustee, and
                       is enforceable against the ELC Trustee in
                       accordance with its terms.

            9.    Release By John Gibson as to the ELC Trustee: As of the
                  Effective Date, John Gibson, individually, and d/b/a Gibson Cattle
                  Company, and on behalf of himself and each of his Associated
                  Parties, and subject to approval of this Settlement Agreement by
                  the Bankruptcy Court through the entry of a final, non-appealable
                  order:

                           a) Releases and forever discharges the ELC
                       Trustee and his Associated Parties of and from
                       each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that John
                       Gibson, individually, and d/b/a Gibson Cattle
                       Company, does not know or suspect to exist at
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                       the time of executing this Agreement; and

                             c) Represents and warrants that (1) neither
                       John Gibson nor any of his Associated Parties
                       has assigned, transferred, or purported to assign
                       or transfer, to any person any Released Claim,
                       (2) to his best knowledge, no other person or
                       entity has any interest in any of the Released
                       Claims, (3) this Agreement has been duly and
                       validly executed and delivered by John Gibson;
                       and (4) this Agreement is a valid and binding
                       obligation of John Gibson, in accordance with
                       its terms.

            10.   Release By the ELC Trustee as to Grant Gibson, Gibson Cattle
                  Company, and G.P. Cattle Company: As of the Effective Date,
                  the ELC Trustee in his capacity as the Trustee of the ELC Estate,
                  on behalf of himself and each of his each Associated Parties, and
                  subject to approval of this Settlement Agreement by the
                  Bankruptcy Court through the entry of a final, non-appealable
                  order:

                            a) Releases and forever discharges each
                       Grant Gibson Releasee and his Associated
                       Parties of and from each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that the ELC
                       Trustee does not know or suspect to exist at the
                       time of executing this Agreement; and

                            c) Represents and warrants that (1) neither
                       the ELC Trustee nor any of his Associated
                       Parties has assigned, transferred, or purported to
                       assign or transfer, to any person any Released
                       Claim, (2) to his best knowledge, no other
                       person or entity has any interest in any of the
                       Released Claims, (3) this Agreement has been
                       duly and validly executed and delivered by the
                       ELC Trustee, solely in his capacity as a Chapter
                       11 Trustee, and (4) this Agreement is a valid
                       and binding obligation of the ELC Trustee, and
                       is enforceable against the ELC Trustee in
                       accordance with its terms.

            11.   Release By Grant Gibson Gibson Cattle Company, and G.P.
                  Cattle Company, as to the ELC Trustee: As of the Effective
                                                                              Exhibit A
                                                                             (Redacted)
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                  Date, Grant Gibson, individually, , and on behalf of himself and
                  each of his Associated Parties, Gibson Cattle Co., and G.P. Cattle
                  Co. and subject to approval of this Settlement Agreement by the
                  Bankruptcy Court through the entry of a final, non-appealable
                  order:

                           a) Releases and forever discharges the ELC
                       Trustee and his Associated Parties of and from
                       each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that Grant
                       Gibson, individually, and on behalf of himself
                       and each of his Associated Parties, Gibson
                       Cattle Co., and G.P. Cattle Co. does not know or
                       suspect to exist at the time of executing this
                       Agreement; and

                            c) Represents and warrants that (1) neither
                       Grant Gibson, individually, nor any Associated
                       Parties, and on behalf of himself and each of his
                       Associated Parties, Gibson Cattle Co., and G.P.
                       Cattle Co. has assigned, transferred, or
                       purported to assign or transfer, to any person
                       any Released Claim, (2) to his best knowledge,
                       no other person or entity has any interest in any
                       of the Released Claims, (3) this Agreement has
                       been duly and validly executed and delivered by
                       Grant Gibson, individually, Grant Gibson
                       Gibson Cattle Company, and G.P. Cattle
                       Company; and (4) this Agreement is a valid and
                       binding obligation of Grant Gibson, Gibson
                       Cattle Company, and G.P. Cattle Company, in
                       accordance with its terms.

            12.   Release By the ELC Trustee as to Tammy Gibson,
                  individually: As of the Effective Date, the ELC Trustee in his
                  capacity as the Trustee of the ELC Estate, on behalf of himself and
                  each of his each Associated Parties, and subject to approval of this
                  Settlement Agreement by the Bankruptcy Court through the entry
                  of a final, non-appealable order:

                            a) Releases and forever discharges each
                       Tammy Gibson Releasee and her Associated
                       Parties of and from each Released Claim;

                           b) Waives the benefits of, and any rights
                                                                                   Exhibit A
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                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that the ELC
                       Trustee does not know or suspect to exist at the
                       time of executing this Agreement; and

                            c) Represents and warrants that (1) neither
                       the ELC Trustee nor any of his Associated
                       Parties has assigned, transferred, or purported to
                       assign or transfer, to any person any Released
                       Claim, (2) to his best knowledge, no other
                       person or entity has any interest in any of the
                       Released Claims, (3) this Agreement has been
                       duly and validly executed and delivered by the
                       ELC Trustee, solely in his capacity as a Chapter
                       11 Trustee, and (4) this Agreement is a valid
                       and binding obligation of the ELC Trustee, and
                       is enforceable against the ELC Trustee in
                       accordance with its terms.

            13.   Release By Tammy Gibson, individually, as to the ELC
                  Trustee: As of the Effective Date, Tammy Gibson, individually,
                  and on behalf of herself and each of her Associated Parties, and
                  subject to approval of this Settlement Agreement by the
                  Bankruptcy Court through the entry of a final, non-appealable
                  order:

                           a) Releases and forever discharges the ELC
                       Trustee and his Associated Parties of and from
                       each Released Claim;

                            b) Waives the benefits of, and any rights
                       arising under, any statute or common law
                       principle that would provide that the foregoing
                       release does not extend to claims that Tammy
                       Gibson, individually, does not know or suspect
                       to exist at the time of executing this Agreement;
                       and

                            c) Represents and warrants that (1) neither
                       tammy Gibson, individually, nor any of her
                       Associated Parties has assigned, transferred, or
                       purported to assign or transfer, to any person
                       any Released Claim, (2) to her best knowledge,
                       no other person or entity has any interest in any
                       of the Released Claims, (3) this Agreement has
                       been duly and validly executed and delivered by
                       Tammy Gibson, individually; and (4) this
                       Agreement is a valid and binding obligation of
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                           Tammy Gibson, individually, in accordance
                           with its terms.

         G. The Parties hereto acknowledge, covenant and agree that each of them has read this
 Agreement and understand its terms, including the legal consequences thereof, and that in
 offering to make, and in making, executing and delivering this Agreement, none of them was
 acting under any duress, undue influence, misapprehension or misrepresentation by any party
 hereto or any agent, attorney or representative of any party and that this Agreement was made,
 executed and delivered as the free and voluntary act of each Party and was given in good-faith on
 the part of each Party with full knowledge of all relevant facts and circumstances.

         H. The Parties further agree that they shall take any action necessary to the effectiveness
 of this Agreement.

       I. The Gibson Trustee’s claim against Michael Steven McDonald, commenced as part of
 Adversary Proceeding No. 12-59103, is not released pursuant to this Agreement.

         J. The ELC Trustee’s claim against Atkinson Livestock Market, L.L.C., commenced as
 part of Adversary Proceeding No. 12-59158, is not released pursuant to this Agreement.

         K. Application for Approval of the Settlement Agreement. Within fourteen (14)
 calendar days from the approval of this Agreement by all Parties hereto, the Trustees shall file
 with the Bankruptcy Court for each respective bankruptcy estate a motion for an order approving
 this Settlement Agreement and authorizing the Trustee to enter into this Settlement Agreement
 (the “Motion”).

        L. Non-Payment of the Grant Gibson Payment. In the event that the full Grant Gibson
 Payment is not paid to the Trustees in accordance with the terms set forth in Section B above, the
 ELC Trustee and the Gibson Trustee may file, record, and collect the unpaid amount of the
 Agreed Judgment, foreclose on the Trustees' Collateral, and recover reasonable attorneys' fees,
 which fees will be limited to the attorneys’ fees incurred in relation to the collection of the
 Agreed Judgment and / or foreclosure on the mortgage related to the collection of the Agreed
 Judgment. John Gibson has no duty to pay the Grant Gibson Payment and shall not be liable for
 nonpayment or any shortfall.

         Non-Payment of the John Gibson Payment. In the event that the full John Gibson
 Payment is not paid in full to the Trustees in accordance with the terms set forth in Section C
 above, the ELC Trustee and the Gibson Trustee may file, record, and collect the unpaid amount
 of the Agreed Judgment, and recover reasonable attorneys' fees, which fees will be limited to the
 attorneys’ fees incurred in relation to the collection of the Agreed Judgment. Grant Gibson and
 Tammy Gibson have no duty to pay the John Gibson Payment and shall not be liable for
 nonpayment or any shortfall.

        M. Misrepresentation as to Financial Position:

        Attached hereto as Exhibits 1, 2, and 3 are affidavits duly sworn by Grant Gibson,
 Tammy Gibson, and John Gibson concerning their current financial condition. These exhibits
 are confidential and shall not be filed in Court with the Motion, though the Parties agree that they
 may be made available to the Court for in camera review and to others as the Court may order
 under the restrictions from further disclosure as the Court may require. In the event that these
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 sworn statements of Grant Gibson, Tammy Gibson and John Gibson regarding the extent and
 value of their assets are fraudulent or otherwise a material misrepresentation of the true extent
 and value of their current assets, then the Trustees' respective claims set forth in Sections B.1 and
 B.2, and their subsections, against the Pry Releasees and the ELC Releasees shall automatically
 be revived, reinstated, and restored in the amounts asserted by the Trustees in the Grant Gibson
 Adversary Proceeding, the Tammy Gibson Adversary Proceeding, the Gibson Cattle Company
 Adversary Proceeding, and the John Gibson Adversary Proceeding, and any releases provided by
 the Trustees to the fraudulent party shall be null, void, and of no effect whatsoever.
 Misstatements concerning the value of individual assets that total less than $25,000 in value are
 deemed to be immaterial and shall not provide grounds to reinstate the Trustee's claims against
 that party. The Trustees may not claim that a material misstatement in one affidavit is grounds to
 revive, reinstate, and restore any claims against a different party. All rights provided in this
 Section N. shall extinguish twelve (12) months following the execution of this Agreement and
 thereafter the Trustees may no longer invoke or rely upon this section of the Agreement.

        N. Acknowledgment of Bankruptcy Court Approval of the Agreement. The Parties
 acknowledge that the effectiveness of this Agreement is expressly conditioned upon its approval
 by the Bankruptcy Court through the entry of a final, non-appealable order.

        O. Denial of the Settlement Agreement. If the Bankruptcy Court does not approve this
 Agreement through the entry of a final, non-appealable order, this Agreement and the releases
 and discharges contained herein shall be null and void.

        P. No Admission of Liability. Each Party hereof acknowledges and agrees that this
 Agreement is a compromise of disputed claims, and neither this Agreement, nor any
 consideration provided pursuant to this Agreement, shall be taken or construed to be an
 admission or concession by either any of the Parties with respect to any fact, liability or fault of
 any kind.

         Q. Titles and Headings. The Parties acknowledge that the titles and headings set forth
 in bold type in this Agreement are included solely for the convenience of the Parties to the
 Agreement and shall not in any manner limit the construction of the Agreement which shall be
 considered as a whole. All additions and deletions of provisions from and all drafts of the
 Agreement shall be of no force or effect in interpreting the terms of the Agreement or the
 intentions of the parties hereto.

         R. Capacity. The undersigned Parties, if executing this Agreement in a representative
 capacity or as a Trustee, certify that they are duly appointed and are authorized and empowered
 to sign and bind their respective entities or principals and that said entity and/or principal has full
 capacity to release the Parties identified above and that all necessary entity actions or principal
 approval for making and effectuating this Settlement Agreement have been taken and obtained.

         S. Notices: All notices and other communications required or permitted under this
 Agreement shall be in writing and shall be effective only if it is delivered by personal service
 (which shall include delivery by delivery service, express mail delivery service, telecopy or
 telefax) or mailed, by United States certified mail, postage prepaid, and addressed as follows:




                                                                                            Exhibit A
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                       If to the Gibson Trustee:
                       Ms. Kathryn L. Pry
                       Trustee of Estate of Thomas P. Gibson and Patsy M. Gibson
                       c/o Ms. Elizabeth M. Lally
                       RUBIN & LEVIN, P.C.
                       500 Marott Center
                       342 Massachusetts Ave., Suite 500
                       Indianapolis, IN 46204

                       If to the ELC Trustee:
                       James A. Knauer
                       Trustee of the Estate of Eastern Livestock Company, L.L.C.
                       c/o Mr. Kevin Toner
                       FAEGRE BAKER DANIELS LLP
                       300 N. Meridian Street, Suite 2700
                        Indianapolis, IN 46204

                       If to Grant Gibson; Tammy Gibson; Gibson Cattle Company;
                       andG.P. Cattle Company

                       Andrew J. Vandiver, Esq.
                       ADAMS STEPNER, WOLTERMANN & DUSING, PL.L.C.
                       40 W. Pike St., P.O. Box 861
                       Covington, KY 41012-0861

                       If to John Gibson:

                       Michael W. McClain
                       Ballinger McClain, PLLC
                       9720 Park Plaza Ave., Suite 102
                       Louisville, KY 40241


Such communications, when personally delivered, shall be effective upon receipt, but, if sent by
certified mail, shall be effective three (3) business days following deposit with the United States
Postal Service. Any Party or agent of such may change its address or give notice that it is no
longer able to accept notice on behalf of a Party for such communications by giving notice thereof
to the other Parties in accordance with the requirements of this section.

       T. Governing Law. This Agreement shall be governed by and construed in accordance
with the laws of the State of Indiana and applicable federal laws.

        U. Entire Agreement. This Agreement constitutes the entire agreement among the
Parties to it and supersedes any prior or contemporaneous understanding or agreement with
respect to the transactions contemplated.


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        V. Modification. No waiver or modification of a term or condition of this Agreement
shall be valid or binding unless it is in writing and executed by each of the Parties to this
Agreement. No material waiver or material modification of a term or condition of this Agreement
shall be valid or binding unless it is in writing and executed by each of the Parties to this
Agreement and approved by the Court by the entry of a final, non-appealable order.

        W. Non-severability. If any provision of this Agreement or any stipulations of the
Parties under this Agreement or any right arising under this Agreement is declared void or
unenforceable, then the entire Agreement is void and of no effect to all Parties to this Agreement.

        X. Miscellaneous. Because each of the Parties to this Agreement has contributed to the
preparation and drafting hereof, has read the Agreement, and has reviewed the Agreement with
counsel and understands its terms and contents, the terms and provisions of this Agreement shall
be interpreted and construed without any presumption or inference based upon the Party or Parties
causing this Agreement to be drafted in fact.

        Y. Waiver of Jury Trial. By entering into this Agreement, the Parties hereby irrevocably
waive any right to a jury trial in any action, proceeding, cross-claim or counterclaim arising out of
or related to this Agreement.

       Z. Retention of Jurisdiction. The Parties agree that the Court shall retain jurisdiction to
enforce the terms of this Agreement.

        AA. Counterparts. This Agreement may be executed in multiple counterparts, all of
which when combined constitute one original document. This Agreement may be transmitted for
execution by electronic mail exchange (e-mail) or electronic facsimile (fax) transmission. The
Parties intend that e-mailed or faxed signatures and an e-mailed or faxed Agreement containing
the signatures (original, e-mail or fax) of all the Parties shall be binding on them.

        IN WITNESS WHEREFORE, the undersigned have duly executed this Agreement on
the dates set forth below however the Effective Date is the date set forth in the first paragraph of
this Agreement.

       [Signatures continue on next page.]




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  GIBSON TRUSTEE




  By: _________________________________
  Kathryn L. Pry, solely in her capacity as the
  Trustee of the Estate of Thomas P. Gibson and
  Patsy M. Gibson and not individually




  ELC TRUSTEE




  By: _________________________________
  James A. Knauer, solely in his capacity as the
  Trustee of the Estate of Eastern Livestock
  Company, L.L.C. and not individually




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GRANT P. GIBSON, INDIVIDUALLY


By:____________________________

_______________________________
        Printed Name/Title


JOHN F. GIBSON, INDIVIDUALLY


By:____________________________

_______________________________
        Printed Name/Title


TAMMY GIBSON, INDIVIDUALLY


By:____________________________

_______________________________
        Printed Name/Title


GIBSON CATTLE COMPANY, L.L.C.


By:____________________________

_______________________________
        Printed Name/Title


G.P. CATTLE COMPANY


By:____________________________

_______________________________
        Printed Name/Title



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